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                 Exhibit A
                                                                                                                                          Case 4:20-cv-05640-YGR                                                              Document 1365-2   Filed 03/17/25   Page 2 of 2




From:                                                                                                                                                                                                  Gary Bornstein
Sent:                                                                                                                                                                                                  Monday, February 24, 2025 10:11 PM
To:                                                                                                                                                                                                    'Wesneski, Josh'; Yonatan Even
Cc:                                                                                                                                                                                                    Perry, Mark; CRichman@gibsondunn.com
Subject:                                                                                                                                                                                               RE: Epic v. Apple - Letter


Josh – I have your letter, with which Epic vehemently disagrees. Rather than respond in detail in writing tonight, as we
prepare for further testimony, I suggest we talk in the morning.

‐Gary

From: Wesneski, Josh <Joshua.Wesneski@weil.com>
Sent: Tuesday, February 25, 2025 12:12 AM
To: Gary Bornstein <GBornstein@cravath.com>; Yonatan Even <YEven@cravath.com>
Cc: Perry, Mark <Mark.Perry@weil.com>; CRichman@gibsondunn.com
Subject: Epic v. Apple ‐ Letter
Counsel, Please see the attached letter and attachment. Best, Joshua M. Wesneski Partner Weil, Gotshal & Manges LLP 2001 M Street NW, Suite 600 Washington, DC 20036 Joshua.Wesneski@weil.com +1 202




                                        External (joshua.wesneski@weil.com)
                                                                                                                                                                                                                                                                   Report This Email FAQ

Counsel,

Please see the attached letter and attachment.

Best,




Joshua M. Wesneski
Partner

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